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 9
                           UNITED STATES DISTRICT COURT
10
                         CENTRAL DISTRICT OF CALIFORNIA
11
     JOHN JOE,                                 Case No. 2:21-cv-04366-RGK-MAR
12
                  Plaintiff,
13                                             Hon. R. Gary Klausner
           vs.                                 Magistrate Judge Margo A. Rocconi
14
     UNITED STATES OF AMERICA;                 JOINT STIPULATION TO DISMISS
15   TRACY L. WILKISON,
           in her official capacity only;      THE CASE WITH PREJUDICE
16                                             PURSUANT TO RULE 41(a)(1)(A)(ii)
     KRISTI KOONS JOHNSON,
17          in her official and individual
            capacities;                        Complaint filed:   May 25, 2021
18   JUSTIN PALMERTON,                         FAC filed:         August 16, 2021
            in his individual capacity only;
19   KATHRYN E. BAILEY DRESS,
20          in her individual capacity only;
     DEZMOND BEVERLY,
21          in his individual capacity only;
     JESSIE MURRAY,
22          in her individual capacity only;
23   LYNNE K. ZELLHART,
            in her individual capacity only
24          and
     DOE UNIDENTIFIED FEDERAL
25   LAW ENFORCEMENT AGENTS
     1-10,
26          in their individual capacities,
27                Defendants.
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                                               1
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 1           STIPULATION TO DISMISS THE CASE WITH PREJUDICE
 2         Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff John Joe
 3   and Defendants United States of America and Tracy L. Wilkison and Kristi Koons
 4   Johnson in their official capacity and Defendant Kristi Koons Johnson in her
 5   individual capacity hereby dismiss this action with prejudice. All parties are to bear
 6   their own costs, expenses, and attorneys’ fees.
 7                                          Respectfully Submitted,
 8
     DATED: September 27, 2021              ISAACS | FRIEDBERG LLP
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10
                                                /s/ Jeffrey B. Isaacs
11                                          Jeffrey B. Isaacs, Esq.
                                            Jerome H. Friedberg, Esq.
12                                          William Wargo, Esq.
13                                          Attorneys for Plaintiff John Joe
14
     DATED: September 27, 2021              TRACY L. WIKISON, ACTING UNITED
15                                          STATES ATTORNEY,
                                            SCOTT M. GARRINGER, ASSISTANT
16                                          UNITED STATES CHIEF, CRIMINAL
                                            DIVISION
17
18
                                               /s/ Victor A. Rodgers
19                                          Victor A. Rodgers, Esq.
20                                          Attorneys for Defendants United States of
                                            America, Tracy L. Wilkinson and Kristi
21                                          Koons Johnson, in their official capacities
22
23   Dated: September 27, 2021              BRIAN M. BOYNTON
24                                          Acting Assistant Attorney General,
                                            Civil Division
25
26                                          C. SALVATORE D’ALESSIO, JR.
                                            Acting Director, Torts Branch, Civil
27                                          Division
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                                                2
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 4                                            /s/
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12                                     KRISTI KOONS JOHNSON, in her individual
                                       capacity
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